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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

                    Plaintiff,

      vs.
                                                Case No.: 20-20070-JAR-JPO

JAMES PUGH,


                    Defendant.


                                      INDICTMENT

The Grand Jury charges:
                                       COUNT I
                                    (Bank Robbery)

      On or about January 31, 2020, in the District of Kansas, the defendant,

                                     JAMES PUGH,

by force, violence and intimidation did take from the person and presence of another,

money belonging to and in the care, custody, control, management and possession of

Landmark Bank, a bank whose deposits were then insured by the Federal Deposit

Corporation, in violation of Title 18, United States Code, Section 2113(a).



Dated: October 21, 2020                  A TRUE BILL.




                                         s/Foreperson
                                         FOREPERSON OF THE GRAND JURY

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                           /s/Jabari B. Wamble #22730, for:
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(It is requested that trial of the above captioned case be held in Kansas City, Kansas.)

PENALTIES:

Count 1:

      ■       NMT    20 years Imprisonment;
      ■       NMT    $250,000 fine;
      ■       NMT    3 years supervised release; and,
      ■       $100   Special Assessment Fee.




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